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                                  EXHIBIT B
         Declaration of Gregory E. Garman in Support of Debtors’ Application for
         Entry of an Order Authorizing and Approving the Employment of Garman
              Turner Gordon LLP as Chapter 11 Co-Counsel for the Debtors
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                                 UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

  IN RE:                                                       §            CHAPTER 11
                                                               §
  NATIONAL RIFLE ASSOCIATION OF                                §            CASE NO. 21-30085-hdh11
  AMERICA and SEA GIRT LLC,                                    §
                                                               §
           DEBTORS1                                            §            Jointly Administered
                                                               §

              DECLARATION OF GREGORY E. GARMAN IN SUPPORT OF
          DEBTORS’ APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING
             AND APPROVING THE EMPLOYMENT OF GARMAN TURNER
           GORDON, LLP AS CHAPTER 11 CO-COUNSEL FOR THE DEBTORS

          I, Gregory E. Garman, state as follows pursuant to 28 U.S.C. § 1746:

          1.         I am an attorney licensed to practice law in the State of Nevada, Nevada Bar No.

  6654. I am a partner with the law firm of Garman Turner Gordon LLP (“GTG”). GTG maintains

  offices in Nevada at 7251 Amigo Street, Suite 210, Suite 100, Las Vegas, Nevada 89119

          2.         I submit this Declaration in support of the Debtors’ Application for Order

  Authorizing Retention and Employment of Garman Turner Gordon, LLP as Counsel to the Debtors

  (the “Application”),2 filed by the National Rifle Association (the “NRA”) of America and Sea Girt

  LLC (“Sea Girt” and, together with the NRA, the “Debtors”), pursuant to which the Debtors seek

  to employ GTG pursuant to the terms of the Engagement Agreement attached hereto as Exhibit 1.

  Except as otherwise stated, I have personal knowledge of each of the facts stated in this

  Declaration, which are true and correct to the best of my knowledge, information, and belief. If

  called as a witness, I could and would testify as to the matters set forth herein.


          1
           The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (National Rifle Association
  of America) and 5681 (Sea Girt LLC).
          2
              Capitalized terms not defined in this Declaration have the meanings set forth in the Application.

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         3.      I have read the Application. To the best of my knowledge, the statements set forth

  in the Application are true and correct, including statements made therein regarding GTG’s

  qualifications and compensation rates.

         4.      In view of the size and complexity of the Debtors’ reorganization and expected

  challenges from the Debtors’ litigation opponents, the Debtors determined it to be in their best

  interests to retain GTG to provide additional support and resources supplementary to the services

  of Neligan LLP (“Neligan”) in connection with the reorganization and contested matters

  anticipated to arise in the Chapter 11 Cases. GTG will represent the Debtors in coordination with

  Neligan and the Debtors’ litigation counsel, Brewer, Attorneys & Counselors (“BAC”). Neligan,

  GTG, and BAC conduct regular, usually daily, conference calls (not charged to the Debtors) to

  coordinate the division of responsibilities and assignment of discrete tasks in connection with their

  representation of the Debtors to minimize duplication of services and ensure that the Chapter 11

  Cases are administered as efficiently as possible. GTG will, at all points in time, work to avoid

  duplication of services to the Debtors in these Chapter 11 Cases.

         5.      The Debtors selected GTG to act as co-counsel because of GTG’s recognized

  expertise and extensive experience in the field of business reorganizations, including both out-of-

  court restructurings and cases under Chapter 11 of the Bankruptcy Code, creditors’ rights, secured

  transactions, complex business litigation, insolvency-related litigation, and other areas of

  commercial law. GTG has represented debtors, committees, lenders, and creditor groups in

  numerous complex restructurings, including, among others, In re EB Holdings II, Inc., Case Nos.

  17-12642-mkn and 19-16364-abl (D.Nev.); In re Dynamic International Airways, LLC, Case No.

  17-10814 (M.D.N.C.); In re Gump’s Holdings, LLC, et al., Case No. 18-14683-mkn (D.Nev.);

  In re Las Vegas Monorail Company, Case Nos. 10-10464-btb and No. 20-14451-nmc (D.Nev.);


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  In re Fontainebleau Holdings, LLC, et al., Case No. 09-21481-BKC-AJC (S.D.Fla.);

  In re Turnberry/MGM Grand Towers, LLC, Case No. 15-13706-abl (D.Nev.); In re Chico Health

  Imaging, LLC, Case No. 17-20247 (E.D.Ca.); In re Ahern Rentals, Inc., Case No. 11-53860-btb

  (D.Nev.); In re Lake at Las Vegas Joint Venture, LLC, Case No. 08-17814-mkn (D.Nev.); Chrysler

  LLC, et al., Case No. 09-50002 (S.D.N.Y.).

         6.      GTG intends to apply for compensation for professional services rendered on an

  hourly basis and reimbursement of expenses incurred in connection with these Chapter 11 Cases,

  subject to the Court’s approval and in compliance with applicable provisions of the Bankruptcy

  Code, the Bankruptcy Rules, the UST Guidelines, the Local Rules, and any other applicable

  procedures and orders of the Court. GTG will maintain detailed, contemporaneous records of time

  and any actual and necessary expenses incurred in connection with the rendering of the legal

  services described above by category and nature of the services rendered.

         7.      Subject to the Court’s approval, GTG will charge for its legal services on an hourly

  basis in accordance with its ordinary and customary hourly rates in effect on the date services are

  rendered, which range from $235–$825 per hour for attorneys and $175–$215 per hour for

  paraprofessionals. Gabrielle A. Hamm and I will be primarily responsible for GTG’s

  representation of Debtors in their Chapter 11 Cases and our hourly rates are $400 and $795,

  respectively. GTG’s hourly rates are subject to periodic adjustment to reflect economic and other

  conditions. In the event GTG determines to raise its rates, GTG will provide the Debtors with

  prior notice and file a notice of the new rates.

         8.      The hourly rates and corresponding rate structure GTG will use in these Chapter 11

  Cases are the same as the hourly rates and corresponding rate structure used in other restructuring

  and non-restructuring matters, whether in court or otherwise and regardless of whether a fee


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  application is required. GTG’s hourly rates are set at a level designed to compensate GTG fairly

  for the work of its attorneys and paraprofessionals and to cover fixed and routine expenses, and its

  rates vary with the experience and seniority of the individuals assigned. These rates and the rate

  structure reflect that restructuring and other complex matters typically involve great complexity,

  high stakes, and severe time pressures and are comparable to the rates that other comparable

  counsel would charge to do work substantially similar to the work GTG will perform in these

  Chapter 11 Cases. The Debtors submit that such rates are reasonable in light of the quality of

  GTG’s services and the depth and breadth of GTG’s experience in Chapter 11 Cases.

         9.      GTG will also seek reimbursement of its expenses pursuant to its policies set forth

  in the Engagement Agreement. It is GTG’s policy to charge its clients in all areas of practice for

  identifiable, non-overhead expenses incurred in connection with the client’s case that would not

  have been incurred except for representation of that particular client, such as postage, overnight

  mail, courier delivery, transportation, overtime expenses, computer-assisted legal research,

  photocopying, airfare, meals, and lodging. Included in GTG’s general overhead, and thus not

  charged as an expense to the client, are long-distance calls, conference calls using GTG’s internal

  conference network, and the vast majority of the cost of electronic legal research using Westlaw.

         10.     GTG was retained subsequent to the Petition Date and has not received

  compensation for work to be performed in these Chapter 11 Cases. GTG is not currently holding

  a retainer. In a prior litigation matter, discussed below, which was unrelated to the restructuring

  and concluded prior to the Petition Date, GTG was paid $30,666 in fees and reimbursed $1,076.45

  in out-of-pocket costs, and no fees or costs remain outstanding.

         11.     Pursuant to Bankruptcy Rule 2016(b), GTG has neither shared nor agreed to share

  (a) any compensation it may receive with another party or person, other than with the partners,


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  associates, and contract attorneys associated with GTG or (b) any compensation another person or

  party has received or may receive.

         12.     Pursuant to the UST Guidelines, GTG answers the following questions:

                     a. Question: Did GTG agree to any variations from, or alternatives to, its
                        standard customary billing arrangements for this engagement?

                         Answer: No.

                     b. Question: Do any of the professionals included in this engagement vary
                        their rate based on the geographic location of the bankruptcy case?

                         Answer: No.

                     c. Question: If GTG represented the client in the 12 months prepetition,
                        disclose its billing rates and material financial terms for the prepetition
                        engagement, including any adjustments during the 12 months prepetition.
                        If GTG’s billing rates and material financial terms have changed
                        postpetition, explain the difference and the reasons for the difference.

                         Answer: GTG was retained by the NRA in 2019 in a matter which was
                         concluded during the 12-month period preceding the Petition Date. GTG
                         charged its standard rates then in effect, which ranged from $235–$785 per
                         hour. GTG has not changed its billing rates or material financial terms post-
                         petition.

                     d. Question: Has your client approved your prospective budget and staffing
                        plan, and, if so, for what budget period?

                         Answer: Yes, the NRA has approved a budget and staffing plan covering
                         the first 60 days following the effective date of GTG’s retention (through
                         March 26, 2021).

         13.     GTG is not a creditor of the Debtors.

         14.     Neither GTG nor any partner or associate thereof holds equity securities or has an

  ownership interest in the Debtors.

         15.     In connection with its proposed retention of GTG in these Chapter 11 Cases, GTG

  was provided with a list of the Debtors’ creditors, the names of officers, directors, and affiliated

  entities, and other known parties in interest. GTG conducted a conflicts check in its client database,

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  which includes GTG’s clients and known principals and affiliates of those clients, to determine

  whether GTG had any conflicts or other relationships that might cause it not to be disinterested or

  to hold or represent an interest adverse to the Debtors or their estates.

           16.      Based on this review, to the best of my knowledge, neither I, GTG, nor any partner

  or associate thereof, insofar as I have been able to ascertain, have any present or prior connection

  with the Debtors, their creditors, other parties in interest, their respective attorneys and

  accountants, the Office of the United States Trustee for the Northern District of Texas or any

  employee thereof, except as follows:

                    (a)      GTG represented the NRA in its 42 U.S.C. § 1983 lawsuit against the City

           and County of San Francisco and certain of its elected officials for violation of the NRA’s

           First and Fourteenth Amendment rights after the San Francisco Board of Supervisors

           adopted Resolution 190841 calling for government officials to “assess the financial and

           contractual relationships our vendors and contractors have with [the NRA],” and to “take

           every reasonable step to limit those entities who do business with the City and County of

           San Francisco from doing business with [the NRA].”3 GTG was paid $30,666 in fees and

           reimbursed $1,076.45 in out-of-pocket costs, the matter was concluded, and no fees or

           costs remain outstanding.

                    (b)      William M. Noall, Esq., a GTG partner, is a lifetime member of NRA. Other

           GTG professionals have been members of the NRA in the past.



           3
            National Rifle Association of America v. City and County of San Francisco, et al., 1:19-CV-5669 (N.D.
  Cal. 2019). The NRA dismissed the action when, in response to the NRA’s lawsuit, the Mayor and City Attorney
  issued a memorandum all City department heads advising that Resolution 190841 did not impose duties on City
  departments, change any of the City’s existing laws or policies, or control City departments’ exercise of discretion,”
  and that “no department will take steps to assess the relationships between City contractors and the NRA, and no
  department will take steps to restrict any contractor from doing business with the NRA or to restrict City contracting
  opportunities for any business that has any relationship with the NRA,” thereby mooting the action.

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                 (c)     GTG has worked with BAC, Debtors’ litigation counsel, in prior, unrelated

         matters. GTG or its attorneys may have professional connections to other attorneys who

         appear in these cases. GTG does not believe its professional relationship with BAC or

         other attorneys in these cases resulting from prior, unrelated engagements affects its

         qualification to serve as counsel to the Debtors.

         17.     Upon receiving additional information regarding the Debtors’ creditors and other

  parties in interest in these Chapter 11 Cases, GTG will conduct additional conflicts checks and

  will promptly supplement this Declaration to disclose any potential conflicts discovered.

         18.     Accordingly, except as set forth herein, and based upon the information available

  to me, neither I, GTG, nor any partner or associate thereof, insofar as I have been able to ascertain,

  holds or represents any interest adverse to the Debtors or their estates in the matters upon which

  GTG is to be employed. Based upon the information available to me, I believe that GTG is a

  “disinterested person” within the meaning of Section 101(14) of the Bankruptcy Code, as modified

  by Section 1107(b) of the Bankruptcy Code.

         19.     By the Application, the Debtors are seeking approval to pay GTG a retainer in the

  aggregate amount of $650,000 (the “Retainer”). The requested Retainer is consistent with, or less

  than, the amount that would ordinarily be requested by GTG in a case of this magnitude and has

  been heavily negotiated by GTG and the Debtors, both sophisticated parties, at arms’ length.

         20.     Any part of the Retainer not used, or any amounts of fees and costs not allowed

  ultimately by the Court, will be returned to the estates by GTG, which has the ability to disgorge

  any payments at the conclusion of the case if the Court found the fees were not justified. However,

  requiring GTG to perform the significant work expected in these Chapter 11 Cases without the




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  benefit of a retainer would subject GTG to unreasonable risk and undue burden as substantial firm

  resources are likely to be directed to these Chapter 11 Cases in a short timeframe.

              21.        The foregoing constitutes the statement of GTG pursuant to Sections 329 and 504

  of the Bankruptcy Code, and Bankruptcy Rules 2014(a) and 2016(b).

              Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury of the laws of the United

  States that these facts are true to the best of my knowledge and belief.

    Dated: February 10, 2021                              By: /s/ Gregory E. Garman
           Las Vegas, Nevada                                  Gregory E. Garman

  4819-0029-1290, v. 3




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